  
 

Case 2:03-CV-02568-BBD-tmp Document 300 Filed 06/24/05 Page` 1 of 4

IN THE UNITED sTATEs DISTRICT coUH'ED EY`- '~'-

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%§J§:`;<_ L,'S. V.'""`l_ CT-
cHARLENE sPINKS, W,"D_ OF ‘1‘.\1, r.';¢~',.>HIS

Plaintiff,

03 cv 2568 D/P \/

'V.

HOME TECH SERVICES CO., INC.,
et al.,

\_¢v\./'~_¢\..¢'\_J`_¢\-_¢\_r

Defendants.

 

BOBBIE J. CARR,
Plaintiff,
03 CV 2569 D/P

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HOME TECH SERVICES CO., INC.,
et al.,

\_r\_dv\.¢\_r\_d\..¢\,¢`_,`_¢

Defendants.

 

ORDER SETTING DEADLINES FOR PRODUCTION OF LOAN FILES PURSUANT TO
MARCH 24, 2005 ORDER

 

On June 23, 2005, the court held a status conference with
counsel for the plaintiffs Webb Brewer and Sapna Raj, counsel for
defendants Memphis Financial Services, World Wide Mortgage
Corporation, Home Tech, the Wells, and Nina Towns (collectively
“MFS defendants”) Evan Nahmias, and counsel for NovaStar Bruce

Alexander, to discuss the status of the production of the lo-

This document entered on the dockets e |' ce
with Ru|a 58 and/or 79(3) F-`F\CP on

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files at issue in this court’s March 25, 2005 order granting in

part plaintiffs' motion to compel. At the conclusion of the

conference, the court ordered as follows:

l. By July 13, 2005, the MFS defendants shall provide the
plaintiffs and NovaStar'with identifying information.regarding
all loans ordered to be produced by the court's March 25
order.

2. By August 10, 2005, the MFS defendants and NovaStar shall

produce all files in compliance with the court’s March 25

mead

TU M. PHAM
United States Magistrate Judge

order.

IT IS SO ORDERED.

 

T\H~Q_ g S_ D-GQ)'/
Date

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 300 in
case 2:03-CV-02568 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

